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             IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF TEXAS

Joe Hunsinger
Plaintiff Pro-Se'                                   Case No: 3-13-CV-4405-G
V.
BILL ME LATER, INC.


                              NOTICE OF SETTLEMENT

       COMES NOW the Plaintiff, hereby states as follows:
    1.   The Plaintiff and the Defendant Bill Me Later, Inc. have reached a
         settlement.
    2.   The Parties will be filing an Order of Dismissal with Prejudice once the
         settlement terms have been completed by the Parties. The Parties expect
         this to happen by January 23 , 2014.

Respectfully submitted December t), , 2013.

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                                                          214-682-7677

                             CERTIFICATE OF SERVICE
  I hereby certify that a copy of the forgoing has been served upon the Defendant Bill Me Later,
  Inc. via regular mail on December i, 2013



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